                       IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISION

In re: Michael G. Dombrowski,               )              Case No.: 16-81412-CRJ-11
       SSN: xxx-xx-4413                     )
                                            )
                   Debtor.                  )              CHAPTER 11

                             JOINT MOTION FOR APPROVAL OF
                              COMPROMISE AND SETTLEMENT

       COME NOW Michael G. Dombrowski, as Chapter 11 Debtor-in-Possession (“Debtor”),
and United Community Bank (“Bank”), and respectfully represent that they have reached an
agreement to settle and compromise the claims and disputes involved in the Debtor’s Chapter 11
case. As grounds for this motion, the parties state the following:

                                        I. Background

       1.    On May 11, 2016 (the "Commencement Date"), the Debtor commenced with this
Court a voluntary case under Chapter 11 of Title 11, United States Code (the "Bankruptcy
Code").

       2.     The Debtor continues to be authorized to operate the business as Debtor-in
possession pursuant to Sections 1107(a) and 1108 of the Bankruptcy Code.

      3.     The Debtor is an active real estate investor with numerous real properties in
Alabama and several other states. In addition to his own properties, the Debtor is a member or
member/owner of several limited liability companies that own real properties.

       4.     On December 15, 2010, the Debtor contracted with Bank, for a loan totaling
$225,562.50 (the “loan”).

        5.     As of filing its proof of claim on May 24, 2016, the Bank asserted that the loans’
remaining principal balance was a total of $165,493.81, plus forward accruing interest and costs
(the “Proof of Claim”).

        6.      The Debtor is the sole owner and member of Blue Mountain Properties, LLC, a
Georgia Limited Liability Company ("Blue Mountain"), which currently holds title to the
following properties encumbered by the Bank’s purchase-money mortgages that collateralized
the loans (the “collateral”), as listed and incorporated hereto in Exhibit “A.”

      7.      Following the commencement date, a dispute arose between the Debtor and the
Bank regarding the Debtor’s treatment of the Bank’s claim under the terms of his Plan for
Reorganization (the “dispute”).




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        8.      To resolve the dispute and all other ancillary or collateral matters between these
parties, the Debtor and the Bank propose this compromise and settlement to the Court. These
parties aver that this proposed resolution is in the best interest of each party and the bankruptcy
estate as a whole.

                                       II. Jurisdiction and Notice

       9.     The parties bring this Motion for approval of compromise and settlement (this
“Motion”) pursuant to § 105 of the Bankruptcy Code and Rules 2002 and 9019 of the Federal
Rules of Bankruptcy Procedure (“Bankruptcy Rules”). This Motion is a contested matter under
Bankruptcy Rule 9014.

        10.     The Bankruptcy Court has jurisdiction over this matter pursuant to 28 U.S.C. §
1334. This matter is a core proceeding pursuant to 28 U.S.C. § 157(b). To the extent that this
Court is being asked to enter a final order on any non-core matter, the parties expressly consent
to the entry of a final order.

      11.     Pursuant to Bankruptcy Rule 2002, the parties propose to serve a copy of this
Motion upon the Bankruptcy Administrator, all creditors, and all parties requesting notice.

        12.      Pursuant to Bankruptcy Rule 2002, the parties propose that the Bankruptcy Court
provide no less than 20 days’ notice by mail to all creditors of the time within which objections
to the relief requested in this Motion must be filed and of the hearing on any such objections.

                           III. Agreement for Compromise and Settlement

      13.     The agreement by and between the Debtor, including where applicable Blue
Mountain, and the Bank to resolve all issues involved in the Chapter 11 case is as follows:

         A.        The Bank's Proof of Claim may be satisfied (the “Settlement Claim”), as set forth
below:

         i.        The loan will be modified as follows: the loan’s maturity date will be extended
                   from December 15, 2017 to December 15, 2019. The Debtor will be obliged to
                   make monthly payments to the Bank of $1,673.91 due on the 20th day of each
                   month and late ten (10) calendar days thereafter (the “Loan Payment”).

         ii.       In addition, the remaining collateral property will be subject to the release prices
                   listed in Ex. A., (the “release price”) with the Chapter 11 Bankruptcy Estate
                   retaining any net proceeds in excess of the release price after the sale of any listed
                   collateral property. All collateral property must be sold, or the remaining balance
                   otherwise paid in full, on or before the maturity date set forth above.

         iii.      In the month following the sale of any collateral property, the Debtor’s Loan
                   Payment will be reduced on a pro-rata basis for all future payments to account for


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                   the sold property. 1 The Debtor’s Loan Payments will continue to reduce as
                   properties are sold until either (a) the principal balance is paid in full; or (b) the
                   Debtor defaults under the terms of this agreement.

       B.      The Bank will release its mortgages on the respective collateral properties
provided the release prices are achieved.

       C.     The Debtor will have the exclusive right to market and sell, subject to the Bank’s
approval of any such sale, any of the collateral properties.

         D.     With regard to any parcel of collateral property that is not sold or under contract
by the maturity dates specified in Paragraph 13(A) above, Debtor and the Bank agree and
stipulate that the Automatic Stay, pursuant to 11 USC § 363 (the "Automatic Stay") or any post
confirmation stay or injunction, shall be lifted, or modified, with regard to any deficiency
balance in order to permit Bank to foreclose on collateral property in accordance with state law
to satisfy any such deficiency without any further Hearings, or Order of the Court. In such event,
Debtor will reasonably cooperate with the Bank if it chooses to pursue any other remedies that
the Bank may have to recover possession of the property.

       E.      Debtor will incorporate the terms of this agreement into his Plan of
Reorganization, and the Bank will support this treatment of its claim in the Debtor’s Plan and not
vote against and withdraw it pending objection to said Plan.

        F.     The Debtor will be responsible for any of the Bank attorney’s fees and/or
expenses incurred in relation to this Chapter 11 proceeding only in the event that the Debtor
defaults on this agreement or if there is a default under the plan with regard to the treatment of
the Bank's claim.

       G.     If the Bank concludes that the Debtor is in default under his plan, or concerning
the payments to the Bank, the Bank will send notice of such default to Debtor at his last known
residence and a copy to his bankruptcy counsel of record. Thereafter, the Debtor will have
twenty-one (21) calendar days to cure the default from the date the notice is sent.

                      IV. Business Justification for Compromise and Settlement

        14.   Bankruptcy Rule 9019(a) authorizes a bankruptcy court to approve compromises
and settlements. The approval or rejection of a compromise is left to the sound discretion of the
bankruptcy court, and is to be determined by the particular circumstances of each proposed
compromise. The term “sound discretion” denotes the absence of a hard-and-fast rule. When
invoked as a guide to judicial action, it means a decision giving due regard to what is right and
equitable under the particular circumstances of the case and applicable law. Langes v. Green,
282 U.S. 531, 541 (1931).


1
    x = a / (a + b)       x = percentage; a = principal balance; and b = sum of the net proceeds.
    y=x•z                 y = new payment; x = percentage; and z = current payment.


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        15.    The courts have supplied the following criteria when determining the
acceptability of a proposed compromise:

                   (i)     The probability of success in the litigation;
                   (ii)    The complexity of the litigation involved; and
                   (iii)   The expense, inconvenience, and delay necessarily attending the litigation
                           (including the possibility that denial of the settlement will cause the
                           depletion of assets).

Wallis v. Justice Oaks, II, Ltd. (In re Justice Oaks II, Ltd.), 898 F.2d 1544 (11th Cir. 1990) and
In re Jackson Brewing Co., 624 F.2d 605, 607 (5th Cir. 1980). See also Protective Comm. for
Indep. Stockholders of TMT Trailer Ferry, Inc. v. Anderson, 390 U.S. 414 (1968). The court is
required to decide whether the settlement falls below the lowest point in a range of
reasonableness. Anacona-Ericsson v. Hennson (In re Teletronics Services, Inc.), 762 F.2d 185,
187-89 (2d Cir. 1985) (quoting Cosoff v. Rodman (In re W.T. Grant Co.), 699 F.2d 599, 608 (2d
Cir. 1983), cert denied 464 U.S. 822 (1984)).

        16.    Although the parties each believe strongly in their respective claims and defenses,
each also recognizes the risks inherent in any litigation.

        17.     A settlement of the parties’ disputes in accordance with this Motion will result in
the resolution of these claims and minimize the Estate’s administrative costs.

       18.    The proposed compromise and settlement is consistent with the intent and the
requirements of the Bankruptcy Code.

       19.    This settlement and compromise is proposed in good faith and is the product of
arms-length negotiations that have occurred between the parties over an extended period of time.

                                             V. Conclusion

         WHEREFORE, PREMISES CONSIDERED, the parties request that the Bankruptcy
Court:

        A.     Enter a final order approving this compromise and settlement; authorizing the
parties to execute and deliver any and all other documents which may be necessary or
appropriate to effectuate the compromise and settlement described herein; and

       B.     Granting such further and different relief as the Bankruptcy Court may deem just
and appropriate.




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        Respectfully submitted this the 30th day of June, 2017.


/s/ Eric J. Breithaupt                             /s/ Tazewell T. Shepard IV
Eric J. Breithaupt                                 Tazewell T. Shepard IV
Attorney for United Community Bank                 An Attorney for Debtor-in-possession

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                                 CERTIFICATE OF SERVICE

        This is to certify that I have this 30th day of June, 2017 served the foregoing motion on all
parties as listed on the Clerk’s Certified Matrix and Richard Blythe, Office of the Bankruptcy
Administrator, P.O. Box 3045, Decatur, AL 35602 by electronic service through the Court’s
CM/ECF system and/or by placing a copy of same in the United States Mail, postage pre-paid.


                                                  /s/ Tazewell T. Shepard IV
                                                  Tazewell T. Shepard IV




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Property                                    Market Value*             Release Price**
Lot 2 Lakeland Estates Phase II               $20,000                   $10,000.00
Ellijay, Ga
Parcel 3009B-050
Lot 10 Lakeland Estates Phase II                $30,000                  $15,000.00
Ellijay, Ga
Parcel 3009B-047
Lot 14 Lakeland Estates Phase II                $40,000                  $15,000.00
Ellijay, Ga
Parcel 3009B-041
Lot 51 Lakeland Estates Phase II                $30,000                  $15,000.00
Ellijay, Ga
Parcel 3009B-061
Lot 58 Lakeland Estates Phase II                $10,000                  $5,000.00
Ellijay, Ga
Parcel 3009B-058
Lot 59 Lakeland Estates Phase II                $20,000                  $5,000.00
Ellijay, Ga
Parcel 3009B-006
Lot 60 Lakeland Estates Phase II                $20,000                  $10,000.00
Ellijay, Ga
Parcel 3009B-005
Lot 61 Lakeland Estates Phase II                $10,000                  $5,000.00
Ellijay, Ga
Parcel 3009B-004
Lot 62 Lakeland Estates Phase II                $15,000                  $5,000.00
Ellijay, Ga
Parcel 3009B-003
Undeveloped 18 Acre                             $60,000                  $30,000.00
Ellijay, Ga
Parcel 3009-001G
Undeveloped 49 Acre                            $150,000                  $75,000.00
Ellijay, Ga
Parcel 3009-001AB
                                               $405,000                    $190,000
* Valuation asserted by Debtor. Debtor may be presented with offers above or below this
value that he chooses to accept. Debtor used current tax appraisals, prior valuations, and
features of each Property to establish the Market Value.
**UCB will receive stated release price on each sale to apply to principal reduction; UCB
will reduce successive monthly P&I payments in proportion to the reduction in principal
so as to maintain the current amortization schedule.




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